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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division

 UNITED STATES OF AMERICA                       )
                                                )
      v.                                        )       Criminal No. 3:19cr19
                                                )       The Honorable M. Hannah Lauck
 TROY G. SKINNER,                               )
                                                )
                  Defendant.                    )

       ORDER ON DEFENDANT'S MOTION TO SEAL UNDER 18 U.S.C. § 3509(d)

    The Court, having read and considered the Defendant's Motion to Seal Under 18 U.S.C.

 § 3509(d), makes the fo llowing findi ngs:

     1. The public 's right of access is outwe ighed by competing interests contained m the

           Defendant's memorandum and the statutory directives in 18 U.S.C. § 3509(d);

    2. The Court considered less drastic alternatives to sealing the documents and finds none of

           them to be appropriate;

    3. The less drastic a lternatives are also rejected because they would not protect the privacy of

           the individual whose information is detailed in the motions and exhibits identified.

 Accordingly, the Defendant' s Motion to Seal Under 18 U.S.C. § 3509(d) is granted.               The

 Defendant's redacted copies of the Defendant's Reply to Government's Response to his Motion

 to Dismiss on Due Process Grounds (ECF No. 91) wi ll be made a part of the public record.

                                                                                Is/
                                                            M. Hannah Lauck
 Dated: 3/l0/1.02L                                          United States District
 Richmond, Virginia                              M. Hannah Lauck
                                                 United States District Judge
